Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 1 of 8 Page ID #:1024




                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION



  RICHARD J. KOPPEL,                        Case No. SA CV 23-00813-GW (DFM)

            Plaintiff(s),                   Report and Recommendation of United
                                            States Magistrate Judge
               v.

  ROBERT BONTA et al.,

            Defendant(s).



        This Report and Recommendation is submitted to the Honorable
  George H. Wu, United States District Judge, under 28 U.S.C. § 636 and
  General Order 05-07 of the United States District Court for the Central District
  of California.
                                 INTRODUCTION
        Plaintiff Richard J. Koppel is an adult resident of California who has
  been denied a concealed carry weapon (“CCW”) license. Before the Court is
  Plaintiff’s motion for a preliminary injunction enjoining California from
  enforcing its CCW licensing regime.
        The Court held a hearing on November 14, 2023. For the reasons set
  forth below, the Court recommends that Plaintiff’s motion be DENIED.
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 2 of 8 Page ID #:1025




                           STATUTORY BACKGROUND
        Current Framework
        California Penal Code section 25400 criminalizes carrying a concealed
  firearm. “Section 25400 does not apply to, or affect, the carrying of a pistol,
  revolver, or other firearm capable of being concealed upon the person by a
  person who is authorized to carry that weapon in a concealed manner pursuant
  to Chapter 4,” which are the provisions for applying for a CCW license. Cal.
  Penal Code § 25655.
        California law authorizes sheriffs and chiefs of police to issue CCW
  licenses. See id. §§ 26150(b)(1), 26155(b)(1). To obtain a CCW license, an
  applicant must establish that he or she is of good moral character, a resident of
  the relevant county, and has completed a course of training. See id.
  §§ 26150(a), 26155(a).1 Issuing authorities may also require psychological
  testing. See id. § 26190(f). An applicant is notified in writing whether the
  application is approved or denied within 90 days of the initial application or
  within 30 days after receipt of the criminal background check from the
  California Department of Justice, whichever is later. See id. § 26205. The
  license is valid for two years. See id. § 26200.




        1
          Sections 26150(a) and 26155(a) also include a “good cause”
  requirement, but it is no longer enforced after the Supreme Court’s decision in
  New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022)
  (“Bruen”). The day after Bruen was decided, the California AG issued a
  bulletin instructing issuing authorities not to enforce the good cause
  requirement but to continue enforcing all other requirements to obtain a CCW
  license, including the “good moral character” requirement. See Dkt. 29-1,
  Sanchez Decl. ¶ 5, Ex. A at A-2. The AG noted that “good moral character” is
  “a distinct question that requires an independent determination.” Id.


                                           2
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 3 of 8 Page ID #:1026




        Senate Bill 2
        Senate Bill 2 (“SB 2”), which will become effective on January 1, 2024,
  will substantially modify California’s CCW licensing scheme. As relevant here,
  SB 2 will remove the good moral character and good cause requirements, and
  direct that issuing authorities “shall issue or renew” a CCW license upon proof
  that the applicant is not disqualified under section 26202, over twenty-one, a
  resident of the relevant city, has completed a course of training, and is the
  recorded owner of the firearm. See Cal. Penal Code §§ 26150(a), 26155(a)
  (Deering 2022).
        Under amended section 26202, a person is disqualified from receiving or
  renewing a CCW license if the applicant is reasonably likely to be a danger to
  self, others, or the community at large, as shown by the results of any
  psychological assessment or other specified factors. See id. § 26202. Other
  disqualifying criteria include being subject to a restraining or protective order
  within the last five years, certain convictions within the last 10 years, use of a
  firearm in a reckless manner, and current abuse of controlled substances. See
  id. SB 2 also adds an appeal process that allows an applicant to contest, at a
  court hearing, any decision denying a license. See id. § 26206.
                          PROCEDURAL BACKGROUND
        On May 9, 2023, Plaintiff filed this lawsuit against Robert Bonta, in his
  official capacity as Attorney General of the State of California, and Don
  Barnes, in his official capacity as the Sheriff-Coroner of Orange County
  (collectively, “Defendants”). See Dkt. 1. Plaintiff alleges that California’s
  CCW laws violate the Second and Fourteenth Amendments, and that the lack
  of appeal and psychological testing requirement violate the Fifth Amendment.
        Plaintiff has applied three times for a CCW license. Plaintiff’s first and
  second applications were denied for lack of good moral character after failing



                                           3
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 4 of 8 Page ID #:1027




  the psychological examination, and his third application was considered
  withdrawn after he did not complete the psychological testing requirement.
            On August 14, 2023, Plaintiff moved for a preliminary injunction
  enjoining Defendants from enforcing California Penal Code sections 25400,
  criminalizing public carry; 26150(a), providing that an issuing authority “may
  issue” a CCW license; 26150(a)(1), the “good moral character” requirement;
  and 26190(f), compelling psychological testing. See Dkt. 19. Defendant Barnes
  filed an opposition, see Dkt. 29, as did Defendant Bonta, see Dkt. 30. Plaintiff
  filed a reply. See Dkt. 31.
            On October 20, 2023, the Court ordered the parties to submit
  supplemental briefing regarding the effect of SB 2 on Plaintiff’s motion. See
  Dkt. 34. The Court noted that the changes brought about by SB 2 appeared to
  provide Plaintiff with most, if not all, of the injunctive relief he seeks. See id.
  Those briefs have been filed. See Dkts. 37 (Bonta), 40 (Barnes), 42 (Plaintiff).
  Defendants argue that SB 2 has mooted Plaintiff’s motion. Plaintiff disagrees,
  but suggests that if the Court deny his motion, it be without prejudice to being
  re-filed after January 1, 2024, once California’s new CCW regime goes into
  effect.
            The Court held oral argument on November 14, 2023. At the hearing,
  Defendant Barnes’s counsel informed the Court that Plaintiff had completed
  the psychological examination on October 24, 2023, and the Sheriff’s
  Department was notified that he passed the examination on October 30, 2023.
  Counsel further explained that Plaintiff’s third application was now considered
  “reopened,” and that the Sheriff’s Department would render a decision within
  ninety (90) days, as required under the current statutory framework. See Cal.
  Penal Code § 26205.




                                            4
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 5 of 8 Page ID #:1028




                                     DISCUSSION
        The Court’s jurisdiction under Article III is limited to cases and
  controversies. See U.S. Const. art. III, § 2, cl. 1. A dispute is moot when the
  issues presented are no longer live or the parties lack a legally cognizable
  interest in the outcome. Ordinarily, “the repeal, amendment, or expiration of
  challenged legislation is generally enough to render a case moot and
  appropriate for dismissal.” Bd. of Trustees of Glazing Health and Welfare Tr.
  v. Chambers, 941 F.3d 1195, 1198 (9th Cir. 2019); see also Lewis v. Cont’l
  Bank Corp., 494 U.S. 472, 478 (1990) (legislature’s passage of amendments
  rendered case moot); Burke v. Barnes, 479 U.S. 361, 363 (1987) (expiration of
  legislation rendered case moot); Kremens v. Bartley, 431 U.S. 119, 127-28,
  (1977) (legislature’s repeal and replacement of legislation rendered case moot);
  Qwest Corp. v. City of Surprise, 434 F.3d 1176, 1182 (9th Cir. 2006) (“[T]he
  newly enacted ordinances resolve the dispute before the court and extinguish
  the once live case or controversy.”).
        The Supreme Court recently confirmed this framework, holding that
  legislative amendments to New York’s firearm licensing statute, enacted after
  commencement of litigation, rendered moot a Second Amendment challenge
  to the original law. See N.Y. State Rifle & Pistol Ass’n v. City of New York,
  140 S. Ct. 1525, 1526 (2020). Importantly, the Supreme Court clarified that
  “where the mootness is attributable to a change in the legal framework
  governing the case, and where the plaintiff may have some residual claim
  under the new framework that was understandably not asserted previously, our
  practice is to vacate the judgment and remand for further proceedings in which
  the parties may, if necessary, amend their pleadings or develop the record
  more fully.” Id. (quoting Lewis, 494 U.S. at 482-83).
        Under these principles, SB 2 moots Plaintiff’s motion for a preliminary
  injunction, superseding the challenged CCW licensing statute and replacing it


                                          5
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 6 of 8 Page ID #:1029




  with one that is significantly different. Plaintiff’s motion takes aim at
  California’s “may-issue” licensing regime, including the good moral character
  requirement, uncertainty regarding psychological testing, and lack of an
  appeals process. See Dkt. 19. SB 2 transforms these challenged aspects of
  California’s licensing regime, fundamentally altering the “legal framework” at
  issue in Plaintiff’s motion. See N.Y. State Rifle & Pistol Ass’n, 140 S. Ct. at
  1526. Once the world welcomes 2024, California will become a “shall-issue”
  state. No longer will there be a “good cause” or “good moral character”
  requirement, and an appeals process will be added. Anything but similar, SB
  2’s changes bear directly on Plaintiff’s challenge, eliminating the chief
  offending features of the current CCW licensing regime, and bringing it more
  closely into line with those cited with approval by the Supreme Court in Bruen.
        Plaintiff argues that his prayer for nominal damages alone prevents a
  finding of mootness. See Dkt. 42 at 6. Plaintiff is, at best, half-correct: the
  action itself may not be entirely moot, but his request for injunctive relief still
  may be. Indeed, Plaintiff’s cited case says just that. See Lokey v. Richardson,
  600 F.2d 1265, 1266 (9th Cir. 1979) (claim for injunctive relief mooted, but
  case was not moot because of prayer for nominal damages).2 Plaintiff also
  argues that California’s CCW licensing scheme will remain substantially

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          On October 28, 2023, Plaintiff filed a “Notice of Additional
  Supplemental Authority,” attaching the order and opinion of Joseph Srour v.
  New York City, --- F.Supp.3d ---, 2023 WL 7005172 (S.D.N.Y. Oct. 24, 2023).
  There, Plaintiff challenged prior and current versions of New York City
  Administrative Code sections pertaining to firearms. The district court found
  that because Plaintiff was injured by the pre-amendment provisions and sought
  compensatory damages, he had standing to challenge them. See id. at *10. As
  to the remedy, however, the court concluded that an injunction or declaration
  as to the pre-amendment provisions was “neither necessary nor appropriate, as
  those provisions are no longer in effect.” Id. at *22. As the Court reads it,
  Srour is consistent with the path taken in this Report and Recommendation.


                                            6
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 7 of 8 Page ID #:1030




  similar, and that the appearance of differences “is smoke and mirrors.” Id. The
  Court cannot agree. As noted above, the switch from a “may issue” to “shall
  issue” regime, on its own, is the sort of fundamental legal change that makes
  judicial review of the prior legislation anathema to the Court. See N.Y. State
  Rifle & Pistol Ass’n, 140 S. Ct. at 1526.
        The facts that came out during oral argument also give rise to significant
  concerns about whether it is appropriate at this stage to enter an injunction. As
  the Court learned during oral argument, the Sheriff’s Department intends to
  render a decision on Plaintiff’s recently reopened application within ninety
  days from October 30, 2023, when the Sheriff’s Department was informed that
  Plaintiff had passed the psychological examination. The facts in this case
  would require the Court to speculate about whether the Sheriff’s Department
  will approve or deny Plaintiff’s now-reopened CCW application, and if denied,
  the reasons given. Because “further factual development would significantly
  advance [the Court’s] ability to deal with the legal issues presented,” the Court
  cannot conclude that Plaintiff’s request for injunctive relief is fit for judicial
  decision. Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 812 (2003)
  (internal quotation marks omitted).
        In sum, the Court finds that Plaintiff’s motion, which challenges a
  statutory scheme that will be significantly altered in little more than a month,
  and involves a recently reopened application, should be denied. As the
  Supreme Court has recently advised, however, in circumstances like this case,
  the moving party may wish to “amend their pleadings or develop the record
  more fully.” Id. And Plaintiff asks that should the Court recommend denial, it
  be “without prejudice to the renewal of a motion for preliminary injunction
  after January 1, 202[4].” Dkt. 42 at 11.
        The Court recommends following the Supreme Court’s advice and
  granting Plaintiff’s request. Plaintiff may file another motion for a preliminary


                                             7
Case 8:23-cv-00813-GW-DFM Document 48 Filed 11/16/23 Page 8 of 8 Page ID #:1031




  injunction, which targets some or all of SB 2. In fact, a purely facial challenge
  to SB 2 could be filed immediately. There are already two lawsuits challenging
  SB 2’s “sensitive places” restriction. See May v. Bonta, C.D. Cal., No. 8:23-cv-
  01686, and Carralero v. Bonta, C.D. Cal., No. 8:23-cv-01798. Plaintiff may
  also wish to seek leave to file an amended complaint, depending on whether he
  decides to challenge SB 2. Plaintiff also suggests a new scheduling order. See
  Dkt. 42 at 11. The Court will cross that bridge once the District Judge has
  disposed of this motion.
                               RECOMMENDATION
        IT IS THEREFORE RECOMMENDED that the District Judge issue
  an Order: (1) approving and accepting this Report and Recommendation; and
  (2) denying Plaintiff’s motion for a preliminary injunction as moot.
        Under 28 U.S.C. § 636(b)(1)(C), any party may serve and file written
  objections within fourteen (14) days of service of this Report and
  Recommendation.


  Date: November 16, 2023
                                        ___________________________________
                                        DOUGLAS F. McCORMICK
                                        United States Magistrate Judge




                                          8
